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PROB 12A
(7/93)


                         UNITED STATES DISTRICT COURT
                                        for
                              Western District of Texas
                            Report on Offender Under Supervision

Name of Offender: Miguel Reyna                              Case Number: A-14-CR-283(01)-LY

Name of Sentencing Judicial Officer: Honorable Lee Yeakel, U.S. District Judge

Date of Original Sentence: February 18, 2015

Original Offense: Felon in Possession of a Firearm, in violation of 18 U.S.C. §§ 924(g)(1) and
(a)(2)

Original Sentence: 18 months’ imprisonent, followed by a three-year term of supervised release.
Special conditions include substance abuse treatment; alcohol abstinence; search condition; and a
$100 special assement (satisfied)

Type of Supervision: Supervised Release       Date Supervision Commenced: November 21, 2019

Assistant U.S. Attorney: Daniel M. Castillo     Defense Attorney: David M.C. Peterson (AFPD)



                                PREVIOUS COURT ACTION

On February 21, 2020, a Probation Form 12A was filed with the Court to address the defendant’s
drug use. No action was requested or taken by the Court.

On May 27, 2020, a Probation Form 12A was filed with the Court to address the defendant’s drug
use and failure to pay his $100 special assessment. No action was requested or taken by the Court.

                              NONCOMPLIANCE SUMMARY

Violation of Mandatory Condition No. 3: “The defendant shall refrain from any unlawful use of
a controlled substance. The defendant shall submit to one drug test within 15 days of release on
probation or supervised release and at least two periodic drug tests thereafter (as determined by
the court) for use of a controlled substance, but the condition stated in this paragraph may be
ameliorated or suspended by the court if the defendant's presentence report or other reliable
sentencing information indicates low risk of future substance abuse by the defendant.”
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Violation of Standard Condition No. 7: “The defendant shall refrain from excessive use of
alcohol and shall not purchase, posses, use, distribute, or administer any controlled substance or
any paraphernalia related to any controlled substance, except as prescribed by a physician.”

Nature of Non-compliance: On December 15, 2020, during a contact with the defendant at his
place of employment, he stalled and ultimately failed to submit a urine specimen.

Reyna submitted to a drug test on December 22, 2020, said result returned positive for
methamphetamine on January 7, 2021.

On January 7, 2021, during a contact with the defendant at his residence, Reyna admitted to using
methamphetamine on or about January 4, 2021.

U.S. Probation Officer Action: On August 6, 2020, a parole violation warrant was issued for the
defendant. Contact with the parole officer revealed Reyna had violated the conditions of the
location monitoring program. On October 7, 2020, the parole violation warrant was served, and
Reyna was arrested by the Granite Shoals Police Department at his home. On October 28, 2020,
Reyna appeared before the parole board to address his violations. On or about November 3, 2020,
the defendant was continued on parole with the special condition of location monitoring.

The Probation Office respectfully requests no adverse action be taken at this time. Reyna has been
admonished for his narcotic use. On January 7, 2021, Reyna was offered placement in a residential
substance abuse treatment program; however, he declined formal treatment. Therefore, he was
referred to Hill County Counseling and scheduled for a psychiatric evaluation and medication
monitoring. The Probation Officer will continue to monitor his narcotic use and progress with the
counseling provider. Accordingly, the Court reserves the right to revisit this allegation in the
future. In addition, should Reyna incur any further violations, the Court will be immediately
notified.

Approved by,                                                Respectfully submitted,


____________________                                        _____________________
Hector J. Garcia                                            Heather M. Durand
Supervising U.S. Probation Officer                          U.S. Probation Officer
                                                            Date: January 12, 2021
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THE COURT ORDERS:

[X] No Action

[ ] Submit a Request for Modifying the Conditions or Term of Supervision

[ ] Submit a Request for Warrant or Summons

[ ] Other ________________________________


                                                        __________________________
                                                        Honorable Susan Hightower
                                                        United States Magistrate Judge

                                                              January 12, 2021
                                                        Date: _______________
